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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEOFFREY CALHOUN, et al.,                 )
                                          )
       Plaintiffs,                        )
                                          )     Civil Action
v.                                        )
                                          )     File No. 1:09-CV-03286-TCB
RICHARD PENNINGTON, et al.                )
                                          )
       Defendants.                        )
                                          )

                                      ORDER

      This Court, having considered the parties’ Joint Motion for Approval of

Proposed Consent Order [Doc. 432], and for good cause shown, hereby finds

that the requirements of the Court’s July 25, 2017 Orders [Docs. 347-8] are fully

satisfied, and further ORDERS the parties as follows:

                                 I.   TRAINING

A.    Training

       1.     The City of Atlanta (“the City”) shall conduct Calhoun “Approved
Training” (as defined in Part B below) for all sworn employees within 90 days of
the entry of this Order, and then every even-numbered year thereafter (“Training
Year”) by no later than the last day of August, through and including August,
2024.
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B.    Continuation of Reform

       1.     The requirements of Paragraph A1 shall not apply to sworn officers
who work no hours in the month during which training is conducted, or who
experience extenuating circumstances making them unavailable to timely complete
the training, for example depart for military duty or become hospitalized. The City
will require such officers to complete the Calhoun training within 30 days of their
return to active Atlanta Police Department (“APD”) duty.

      2.     The Calhoun Approved Training may be presented on-line rather than
in-person, and shall instruct about current Fourth Amendment law regarding
detentions, arrests, frisks and searches generally, the topics set forth in Exhibit A
hereto (“Constitutional Principles”), and the topics set forth in Exhibit B hereto
(“Calhoun SOP Topics”).

       3.     Plaintiffs approve the training video (contained on a thumb drive that
is Exhibit C to this Order, the “Approved Training”) with the exception of the
Assessment Questions. Plaintiffs do not approve the Assessment Questions, but for
purposes of compromise Plaintiffs stipulate that: 1) they will not argue that the
Assessment Questions in the Approved Training violate subsection (A)(1) of Part I
(Training) of this Order; and 2) the Approved Training may be used for full
satisfaction of the training and recurrent training requirements of subsection (A)(1)
of Part I (Training) of this Order. The Parties further agree that:

             (a)   the “fast forward” function of the Approved Training video will
                   be disabled, so that trainees are unable to fast forward through
                   any portion of the training that they have not yet viewed; and

             (b)   for each embedded segment of Assessment Questions in the
                   Approved Training, the segment’s order of questions and the
                   questions’ order of answer choices will be randomized.

The City shall not change any material element of the structure, format, or content
of the Approved Training or the Assessment Questions unless such changes are
presented to and approved by Plaintiffs’ counsel in writing prior to
implementation; Plaintiffs’ approval shall not be unreasonably withheld, delayed
or conditioned.



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      4.     In addition to the training implemented pursuant to this Part I, the City
may implement the Approved Training at any other time in its sole discretion,
without prior consent of Plaintiffs.

C.    Monitoring Facilitation

       1.     Within two weeks (14 calendar days) of the City’s completion of the
Approved Training in 2018 or 2019, and by September 15 of a subsequent
Training Year, the City shall provide Plaintiffs with a roster of all sworn
employees of the Department as of the final day of August (except that for 2018 or
2019, the roster shall be for the month in which the Approved Training was
conducted), which shall contain the date that each of those sworn employees
completed the Approved Training, or as applicable pursuant to paragraph B1,
above, the reason why timely completion did not occur. In addition, the City shall
provide a composite analysis for each test question showing the number of officers
who initially answered each question correctly, the number who initially answered
each question incorrectly, and the average number of attempts needed for officers
to correctly respond to each question.

       2.     For each such sworn officer unable to timely complete the Calhoun
training for reasons described in paragraph A1, above, the City will inform
Plaintiffs within 15 days of the sworn officer’s completing the Calhoun training,
indicating the date that the officer returned to active-duty and the date that the
training was completed.

            II.   STANDARD OPERATING PROCEDURES (SOPS)

A.    APD Standard Operating Procedures

      1.     The City shall not maintain, adopt, or revise any APD Standard
Operating Procedure (“SOP”) inconsistent with the any of the Constitutional
Principles set forth in Exhibit A hereto.

       2.    The City shall not maintain, adopt, or revise any SOP inconsistent
with any provision of this Order, any of the Calhoun SOP Topics set forth in
Exhibit B hereto, or any of the “Calhoun SOPs” (as defined below), except as set
forth in paragraph B3, below.



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B.    Continuation of Reform

       1.      As used herein, “Calhoun SOP” shall mean the SOPs listed on the
attached Exhibit D and any SOP added to this list pursuant to the process described
in this Part II(B).

     2.     Except as set forth in this Part II(B), the City shall retain without
change the Calhoun SOPs.

       3.     The City may modify the Calhoun SOPs to the extent that a change is
made to the applicable legal principle through statutory change or legal
interpretation by the United States Supreme Court, United States Court of Appeals
for the Eleventh Circuit, the Supreme Court of Georgia or the Georgia Court of
Appeals.

      4.    If the City modifies any Calhoun SOP for any reason, within five
business days (i.e., weekdays except federal holidays) the City shall
inform Plaintiffs’ counsel and provide a copy of the modified SOP to Plaintiffs’
counsel. This requirement shall be referred to as the “Five Day Reporting
Requirement.”

      5.     If Plaintiffs reasonably believe that language in any SOP not listed on
Exhibit D substantively implicates or is inconsistent with any provision of this
Order, any of the Constitutional Principles set forth in Exhibit A, or any of the
Calhoun SOP Topics set forth in Exhibit B, or any of the Calhoun SOPs, Plaintiffs
may request in writing that the City add such an SOP to the list of Calhoun SOPs,
which SOPs are subject to the Five Day Reporting Requirement. If the City
objects to adding an SOP to the list of Calhoun SOPs, the parties shall meet and
confer. If a dispute remains, the City will have 15 business days in which to add
the SOP to the list of Calhoun SOPS or present the issue to the Court for
resolution. If the City does not timely object, the SOP shall be added to the list of
Calhoun SOPs.

C.    Monitoring Facilitation

      1.    By no later than midnight on the 28th day of February, until and
including February 28, 2024, the City must provide Plaintiffs with a copy of every
SOP in effect on December 31 of the immediately preceding year, except that the
requirements of this Paragraph C(1) shall not apply to Confidential SOPs,. The

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SOPs shall be provided in both Microsoft Word and PDF (Adobe Acrobat)
formats. These files shall be named as follows: [SOP number] [SOP Title]
[Year.Month.Day of Last Revision]

       2.     Beginning April 15, 2019, by no later than midnight on the fifteenth
days of the months of January, April, July, and October, until October 15, 2024
(hereafter the “Reporting Dates”), the City must provide Plaintiffs’ counsel with
the following information for the immediately preceding quarter, except that the
requirements of this Paragraph C(2) shall not apply to Confidential SOPs:

             (a)   A copy of every SOP that is subject to the Five Day Reporting
                   Requirement, which is in effect on the final day of the
                   immediately preceding quarter. For example, on October 15,
                   2020 (the Reporting Date), the City must provide copies of all
                   SOPs subject to the Five Day Reporting Requirement in effect
                   on September 30, 2020. The SOPs shall be provided in both
                   Microsoft Word and Adobe Acrobat formats. The titles of
                   these SOPs shall contain: [SOP number] [SOP Name]
                   [Year.Month.Day of Last Revision].”

             (b)   As a separate document, a revision list indicating, in separately
                   headed sections: (i) every SOP first implemented during the
                   immediately preceding quarter; (ii) every SOP revoked during
                   the immediately preceding quarter; and (iii) every SOP other
                   than those already identified in (i) or (ii) to which any change
                   whatsoever has been made during the immediately preceding
                   quarter. The SOPs identified on these lists shall be denoted as
                   follows: “[SOP Number] [SOP Name] [Year.Month.Day of
                   Last Revision].” For any category in which there are no
                   applicable SOPs for the immediately preceding quarter, this
                   shall be indicated affirmatively by the word “None.” This
                   document must always be provided, even if no SOPs were
                   implemented, revoked, or changed during the immediately
                   preceding quarter.

             (c)   For every SOP identified in Section (b)(iii), a separate blackline
                   document in Microsoft Word format reflecting every change
                   made to that SOP in the immediately preceding quarter. The

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                    parties agree that this blackline document shall be created by
                    comparing the version of the SOP in effect on the immediately
                    preceding Reporting Date and the version of the SOP in effect
                    on the current Reporting Date using Microsoft Word’s
                    blackline function or the equivalent thereof that is mutually
                    approved by the parties.

      3.      No more than once per calendar year, the City shall be entitled to a
four-calendar-day extension of one Reporting Date, if the request for such
extension is timely (i.e., communicated to Plaintiffs’ counsel prior to midnight on
the Reporting Date).

D.    Sunset

      1.     Except for the provisions of Part IIA(1), the provisions in Part II shall
expire six years following the entry of this Order.

                          III. CITIZEN COMPLAINTS

A.    Citizen Complaints

       1.   APD shall investigate and finally adjudicate all citizen complaints of
police misconduct of any kind within 180 days of the complaint.

B.    Continuation of Reform

       1.    Definitions. For purposes of this Part III, the following definitions
shall apply:

             (a)    “APD Administration” means any sworn member of the Atlanta
                    Police Department whose rank is sergeant or higher.

             (b)    “APD Facilities” means Atlanta Police zone precincts or mini-
                    precincts, OPS building, Training Academy, Headquarters, or
                    their functional equivalent.

             (c)    “Citizen Complaint” means a complaint that alleges one or
                    more acts of police misconduct performed by a sworn member
                    of the Atlanta Police Department, which is initiated by any


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                  person other than City employees or officials acting in their
                  official capacity:

                  (1)   in a reasonably legible written communication, including
                        without limitation any signed or unsigned letter, form,
                        electronic communication or other document using
                        written words, in any format including hard, electronic or
                        otherwise, received by:

                        (i)     the APD Administration;
                        (ii)    an APD Facility;
                        (iii)    any sworn or unsworn on-duty OPS employee;
                        (iv)     the OPS website or functional equivalent; or
                        (v)     any online communication to APD through the
                                links described in Section 2(a) or its functional
                                equivalent.

      or

                  (2)   in an audible oral communication, including without
                        limitation those made in-person, by telephone or via OPS
                        hotline, received by:

                        (i)     a member of the APD Administration at APD
                                Facilities; or
                        (ii)    any sworn or unsworn on-duty OPS employee.

     2.     Enhanced Accessibility: APD shall enhance accessibility of the OPS
complaint process as follows:

            (a)   The City shall include a prominent link informing persons
                  “How to Make a Complaint”: on the index page (i.e., the “main
                  page,” or any functional equivalent) of the City website; the
                  APD section of the City website; the APD general information
                  website; on both the index page and the “Contact Us” page of
                  the APD web site, which link should be functional on all user
                  platforms, including desktops, mobile device platforms and any
                  functional equivalents. This link shall lead users directly to a


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                   page or form (or any functional equivalent) on which a Citizen
                   Complaint can be submitted to APD.

             (b)   Plaintiffs are allowed to submit “test” complaints to ensure the
                   systems (electronic and non-electronic) are working properly.

             (c)   On-duty uniformed sworn officers at an NPU meeting or city-
                   recognized neighborhood association meeting will have
                   “informational sheets” for distribution to any person alleging
                   APD police misconduct, and the information shall instruct how
                   to submit an OPS complaint via the OPS WEB site and OPS
                   telephone hotline.

             (d)   Informational sheets, as described in subparagraph c, will be
                   available at all APD Facilities in a visible location that is
                   accessible by the public without assistance from APD
                   personnel.

       3.    Effective Date. The provisions of this Part III Section A shall be
implemented within 30 days of the entry of this Order. The provisions of this Part
III Section B shall be implemented by the latter of 30 days after entry of this Order
or January 15, 2019, with the exception of the Web page enhancement described in
Paragraph 2(a), which shall be implemented within 90 days after entry of this
Order.

C.    Monitoring Facilitation

       1.     For Citizen Complaints that are assigned an OPS Complaint number
by APD, the City shall produce the following on a monthly basis, on or before the
15th day of the following month, beginning on the latter of 30 days after entry of
this Order or January 15, 2019:

             (a)   A spreadsheet indicating, with regard to each Citizen Complaint
                   opened, open or closed during the immediately preceding
                   month:

                          (i)     the date the complaint was made;
                          (ii)    the name of the person making the complaint;
                          (iii)   the file number assigned to the complaint;

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                         (iv)   the name(s) of the officer(s) against whom the
                                complaint was made;
                         (v) the law, rule, or SOP the officer was alleged to
                                have violated;
                         (vi) the date that the complaint was finally adjudicated;
                         (vii) the final disposition of the complaint (i.e., whether
                                the complaint was sustained, not sustained,
                                unfounded, or exonerated) and
                         (viii) the nature of any discipline imposed (e.g., oral
                                admonishment, written reprimand, the duration of
                                any suspension, dismissal, etc.).

            (b)    Electronically searchable PDF files of all documents created or
                   maintained in the ordinary course of business in conjunction
                   with any of the citizen complaints listed in the afore-described
                   spreadsheet whose investigation was closed during the previous
                   month. Each OPS investigation file shall be provided as an
                   individual PDF document, the file name of which shall be the
                   OPS number of the investigation (e.g., 18-X-12345-XXX.pdf).

        2.    For Citizen Complaints that are not assigned an OPS Complaint
number by APD, the City shall produce to Plaintiffs’ counsel the following on a
monthly basis, on or before the 15th day of the following month, beginning on the
latter of 30 days after entry of this Order or January 15, 2019:

            (a)    A spreadsheet indicating, with regard to each Citizen Complaint
                   opened, open or closed during the immediately preceding
                   month:

                         (i)     the date the complaint was made;
                         (ii)    the name and contact information (if available) of
                                 the person making the complaint;
                         (iii)   the file number assigned to the complaint (if a file
                                 number is used or assigned);
                         (iv)    the name of the APD Administration individual
                                 who received the complaint (if the complaint was
                                 not received by OPS);
                         (v)     whether the complaint was oral or written;

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                           (vi)   a factual summary of the conduct alleged by the
                                  complainant;
                           (vii) the date that the complaint was finally adjudicated;
                                  and
                           (viii) the final disposition of the complaint (e.g., whether
                                  the complaint was sustained, not sustained,
                                  unfounded, exonerated, or some other disposition).

             (b)    Electronically searchable PDF files of all documents created or
                    maintained in the ordinary course of business in conjunction
                    with any of the citizen complaints listed in the afore-described
                    spreadsheet, including any document with the name(s) of the
                    officer(s) against whom the complaint was made (if available),
                    whose investigation was closed during the immediately
                    preceding month. Each Citizen Complaint file shall be provided
                    as an individual PDF document.

D.    Sunset

       1.     Except for Parts III(A)(1) and (B)(1), the provisions in this Part III
shall expire six years following the entry of this Order.

                         IV. STOP AND THINK FORMS

A.    Stop and Think Forms

       1.     Documentation of Warrantless Seizures. With regard to any
warrantless seizure (e.g. Terry stop), warrantless frisk, or warrantless search of a
person conducted by an Atlanta police officer inside any residence or commercial
building or structure, the City of Atlanta shall require the officer to fill out a
written or electronic form before the end of his or her shift documenting the
specific crime(s) of which the individual was suspected; indicating the specific
facts giving rise to reasonable articulable suspicion regarding that crime; indicating
whether the individual was frisked for weapons, and if so giving the specific facts
giving rise to reasonable articulable suspicion that he was both armed AND
dangerous; indicating whether the individual was searched for anything other than
weapons, and if so giving the specific facts giving rise both to probable cause and
exigent circumstances. The requirements of this paragraph shall not apply if the
action is in immediate response to a non-police-officer-initiated 9-1-1 call. These

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reports shall be a public record, routinely available for public inspection by
electronic or other means, pursuant to the Georgia Open Records Act.

      2.     Documentation of ID Checks. With regard to any ID check over the
ACIC/GCICINCIC system by an Atlanta police officer and involving persons
within any residence or commercial building or structure, the City of Atlanta shall
require the officer performing the check to fill out a written or electronic form
before the end of his or her shift documenting the specific authority for the ID
check (whether by consent or pursuant to a Terry stop or arrest), and in the case of
checks pursuant to a Terry stop, to complete the form described above. The
requirements of this paragraph shall not apply if the action is in immediate
response to a non-police-officer-initiated 9-1-1 call. These reports shall be a public
record, routinely available for public inspection by electronic or other means,
pursuant to the Georgia Open Records Act.

B.    Continuation of Reforms

       1.     The forms required in paragraph A1 and A2 above shall be public
records, routinely available for public inspection by electronic or other means,
pursuant to the Georgia Open Records Act. For the purpose of public inspection
under the Open Records Act, the Forms will be available after supervisor review
and approval. In the event that the content of any Form completed by an officer
before the end of her or his shift (“End of Shift Form”) prior to supervisor review
is not identical to the publicly available form, the City will retain for production to
Plaintiffs’ counsel, as set forth below, the End of Shift Form, an audit trail showing
the history of transactions associated with the End of Shift Form, and the
supervisor notes associated with the audit trail. Plaintiffs’ counsel agree to keep
confidential such End of Shift Forms, audit trails and supervisor notes.

      2.     Training and Promotion of Compliance

             (a)    Within thirty days of entry of this Order, the City shall cause
                    the Chief of Police to distribute a Memorandum to all sworn
                    staff describing the Stop and Think Forms and their proper use,
                    explaining the New Incident Report Form (discussed below),
                    identifying the relevant SOPs, giving examples of when Stop
                    and Think Forms should be completed, and identifying
                    particular units in which the completion of Stop and Think


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           Forms may be required more often. Prior to its distribution, the
           City shall provide Plaintiffs’ counsel with a draft Chief of
           Police Memorandum for Plaintiffs’ approval, which approval
           shall not be unreasonably withheld.

     (b)   Calhoun Training shall include training on the Stop and Think
           Forms and their proper use, including a “flow chart” explaining
           when the Stop and Think Forms are required and not required,
           substantially in the form attached hereto as Exhibit E.

     (c)   To prompt officers completing incident reports to also complete
           Stop and Think Forms when appropriate, the incident report
           form shall, by March 15, 2019, be modified to force completion
           of Stop and Think Forms unless the officer “unchecks” each of
           two provisions stating, in substantial effect, “You were in a
           commercial or residential building or structure” and “You were
           not immediately responding to a civilian 911 call.”

3.   Monitoring Facilitation

     (a)   On the 15th day of each month, beginning the latter of 30 days
           after entry of this Order or January 15, 2019, the City shall
           provide Plaintiffs’ counsel with the following information for
           the immediately preceding month: (i) each Stop and Think
           Form (in the form of an individual PDF document for each Stop
           and Think Form) and the corresponding incident report (in the
           form of an individual PDF document for each incident report);
           (ii) each End of Shift Form that differs from the corresponding
           publicly available Stop and Think Form (in the form of an
           individual PDF document for each such End of Shift Form) and
           the corresponding audit trail and supervisor notes (in the form
           of an individual PDF document for each End of Shift Form, or
           other format acceptable to Plaintiffs); (iii) all criminal trespass
           warnings recorded electronically (in the form of an Excel
           spreadsheet with a row for each criminal trespass warning and a
           column for each field in the criminal trespass warning
           template); (iv) copies of all criminal trespass warnings that
           were created in paper form (in the form of an individual PDF

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                    document for each paper criminal trespass warning); and (v) all
                    Field Interview Forms, as currently contained in the Field
                    Contact Module referenced in SOP 3065 § 4.4.1, or any
                    functional equivalent (in the form of an Excel spreadsheet with
                    a row for each Field Interview Form and a column for each
                    field in the Field Interview Form template). Plaintiffs will not
                    assert any violation or contempt with regard to any missing or
                    improperly-completed Stop and Think Form completed before
                    March 1, 2019. The parties understand that the Plaintiffs’
                    counsel will also request in discovery GCIC/ACIC/NCIC
                    records from time to time, and data from individual APD
                    incident reports (in the form of an Excel spreadsheet with a row
                    for each incident report and a column for each field in the
                    incident report template).

             (b)    For a six-month period beginning on or about April 15, 2019,
                    the parties will have monthly meetings to address whether the
                    procedures set forth above are sufficient or necessary to
                    promote reasonable compliance by APD police officers with the
                    Stop and Think Form requirement. Such meetings may
                    continue thereafter on an as needed basis.

C.    Sunset

      1.    The provisions in Part IV shall expire six years following the entry of
this Order.

                              V.   IDENTIFICATION

A.    Identification Requirement for APD Officers

       1.     The City of Atlanta shall require all Atlanta police officers who are in
uniform, other than a rain slicker or traffic direction vest, to wear a conspicuously
visible nametag, and to require any Atlanta police officer who is in uniform or has
displayed a badge or other indicia of police authority (such as a police vest, etc.),
to identify himself by name and badge number upon request at some point before
the end of an encounter with a civilian.



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B.    Continuation of Reform

       1.     APD’s Standard Operating Procedure SOP.2130 pertaining to Dress
Code (or any future functional equivalent) shall include a section requiring that any
Atlanta police officer who is in uniform must, at all times, wear a conspicuously
visible nametag, and emphasizing that the only exception to this requirement is a
rain slicker or traffic direction vest. No APD SOP shall supersede or contradict this
section of SOP.2130.

       2.    APD’s Standard Operating Procedure SOP.2010 pertaining to Work
Rules (or any future functional equivalent) shall include a section requiring any
Atlanta police officer who is in uniform or has displayed a badge or other indicia
of police authority (such as a police vest, etc.), to identify himself by name and
badge number upon request at some point before the end of an encounter with a
civilian.

      3.    APD recruits shall be trained on the name tag and identification
requirements.

       4.    All APD supervisors who identify a police officer in uniform, whether
on duty or off duty, without a conspicuously visible nametag, shall initiate an OPS
investigation, discipline, or issue a written reprimand where deemed appropriate.

C.    Monitoring Facilitation

The City shall make available for review by Plaintiffs’ counsel, by the 15th day of
each month (beginning no less than 30 days after the entry of this Order), all
videos and photographs (including BWC, handheld, dashcam) of operations by
officers in “tactical” and “SWAT-type” gear or uniforms conducted the
immediately preceding calendar month, except for such videos and photographs
that are exempt from public disclosure under the Georgia Open Records Act
(OCGA §50-18-72) or other applicable Federal or State law, which videos and
photographs shall be made available when they are no longer exempt. Plaintiffs’
counsel agree to keep confidential information received pursuant to this Paragraph
C. The City understands that Plaintiffs’ counsel may also be requesting videos in
discovery under the Federal Rules of Civil Procedure.




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D.    Sunset

     1.     The provisions in Part V(B) “Continuation of Reform” and Part V(C)
“Monitoring Facilitation” shall expire six years following the entry of this Order.

     VI. NO INTERFERENCE WITH AUDIO OR VIDEO RECORDINGS

The City of Atlanta shall prohibit Atlanta police officers from interfering in any
way with a citizen's right to make video, audio, or photographic recordings of
police activity, as long as such recording does not physically interfere with the
performance of an officer's duty.

                                 VII. DISCOVERY

       1.    Plaintiffs are granted the right to conduct post-judgment discovery to
monitor compliance with this Order pursuant to the Federal Rules of Civil
Procedure, the Local Rules of the United States District Court for the Northern
District of Georgia, and all Standing Orders of this Court.

      2.     The Parties agree that the City’s compliance with the document
production requirements set forth in this Order should facilitate Plaintiffs’ ability to
monitor the City’s compliance with the Order and accordingly reduce Plaintiffs’
discovery requirements.

       3.     The City shall comply within 20 days with any request made by
Plaintiffs’ counsel for discovery. Any such request from Plaintiffs’ counsel shall
be accompanied by an explanation of the reason for additional information or
documents to monitor compliance with this Order. Any records or documents that
would not be subject to disclosure under the Georgia Open Records Act shall be
used by Plaintiffs’ counsel solely for the purpose of monitoring the City’s
compliance with this Order and shall not be disclosed to the public.

       4.     In any instance in which the City objects to or seeks clarification of a
discovery request, the City shall present such objections or requests for
clarification in writing to Plaintiffs’ counsel within 5 working days of receipt of the
request, including the specific bases for each objection or the nature of any
ambiguity. Within 5 working days thereafter the parties shall meet and confer and
attempt to resolve the dispute. Plaintiffs’ counsel will waive attorneys’ fees for the
first hour of such a meeting. If a dispute remains, the City must, within 10

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working days of the parties’ meeting, do the following: (1) produce complete,
responsive records or (2) petition the Court for relief.

       5.     The provisions in this Part VII shall expire six years following the
entry of this Order.

         VIII. IMPORTANCE OF MONITORING FACILITATION

       The parties agree that enforcement of this Order is dependent upon the
timely, full and accurate production of the records and information required to be
provided under this Order, and the City acknowledges and understands that failure
of the City to comply will be raised with this Court.

                              IX. ATTORNEY FEES

      1.     The City shall pay Plaintiffs’ counsel their reasonable attorney fees
and reimburse any costs they reasonably expend in ensuring compliance with the
Orders of this Court. The City shall pay these sums directly to Plaintiffs’ counsel
upon receipt (i.e., within thirty calendar days) of each itemized accounting of
reasonable time and expenses.

       2.    If the City believes any element of such itemized accounting to be
unreasonable, the City shall present such objections, including the specific bases
for each objection, in writing to Plaintiffs’ counsel within 5 calendar days of
receipt of such accounting. Within 5 calendar days thereafter, the parties shall
meet and confer and attempt to resolve the dispute. If a dispute remains, the City
must, within 10 business days of the date it raised its objections, do one of the
following: (1) pay Plaintiffs’ counsel’s accounting as presented; or (2) petition the
Court, in a writing served on Plaintiffs’ counsel, for relief.

      3.   The parties recognize that the Plaintiffs’ counsel are entitled to
compensation for their reasonably expended monitoring hours under 42 U.S.C. §
1988. The City also acknowledges that certain aspects of the monitoring regime
and mechanisms may require Plaintiffs’ counsel to expend significant and
compensable time.

      4.     The provisions in this Part IX (“Attorney Fees”) shall expire six years
following the entry of this Order.



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                                X.   STATEMENT

       This Consent Order represents the desire and agreement of the parties to
focus on ensuring compliance by the City in the future, rather than litigating
Plaintiffs’ allegations of the City’s non-compliance. The parties view this Consent
Order as their good-faith effort to both advance compliance with Orders of this
Court and as an important tool advancing APD’s work to ensure both public safety
and respect for citizens’ constitutional rights.

          XI. THIS ORDER SUPERCEDES PREVIOUS ORDERS

       This Order shall supersede this Court’s Orders of December 8, 2010,
December 15, 2011, May 19, 2015 and all orders subsequent to May 19, 2015.
Nothing in this Order shall preclude any party from filing a motion to modify any
part of this Order.



      IT IS SO ORDERED this 29th day of November, 2018.




                                                _____________________
                                                Timothy C. Batten, Sr.
                                                United States District Judge




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                                EXHIBIT A
                          Constitutional Principles

a) Police officers may not lawfully detain any individual without reasonable
   articulable suspicion, particularized to the person being detained (i.e., a
   "particularized and objective basis for suspecting the particular person") that
   the individual is involved in specific and identifiable criminal activity.

   A police officer may conduct a brief, investigatory stop of a person when the
   officer has a reasonable, articulable suspicion that that person is involved in
   criminal activity (A "Terry stop"). While "reasonable suspicion" is a less
   demanding standard than probable cause and requires a showing
   considerably less than preponderance of the evidence, the Fourth
   Amendment requires at least a minimal level of objective justification for
   making the Terry stop. The officer must be able to articulate more than an
   "inchoate and unparticularized suspicion or 'hunch' " of criminal activity by
   the person. Illinois v. Warlaw, 528 U.S. 119, 122 (2000) (citations omitted).
   The officer must have a reasonable suspicion, based on objective facts, that
   the individual is involved in criminal activity. Brown v. Texas, 443 U.S. 47,
   51 (1979). Also, the officer's action must be " 'justified at its inception, and .
   . . reasonably related in scope to the circumstances which justified the
   interference in the first place.'" United States v. Sharpe, 470 U.S. 675, 682
   (1985) (quoting Terry v. Ohio, 392 U.S. 1, 20 (1968)).

b) Police officers may not lawfully take or demand identification, or require an
   individual to identify himself, without reasonable suspicion, based on
   objective criteria, that the individual is engaged or had engaged in criminal
   conduct.

   When a police officer is conducting a Terry stop on the basis of reasonable
   articulable suspicion that a person is engaged or has engaged in criminal
   activity, the officer may demand that a person identify himself or display
   identification. Hiibel v. Sixth Judicial Dist. Court, 542 U.S. 177 (2004);
   Brown v. Texas, 443 U.S. 47 (1979). In the absence of a lawful Terry stop, a
   police officer may not lawfully take identification or demand an individual
   to identify himself.


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c) Police officers may not lawfully frisk an individual for weapons without a
   reasonable belief, directed at the particular person to be frisked, that the
   person is both armed and presently dangerous.

   During a lawful Terry stop, a police officer for his own protection and safety
   may conduct a patdown of a person to find weapons that he reasonably
   believes or suspects are then in the possession of the person he has stopped.
   Police may not conduct a generalized "cursory search for weapons" or any
   search whatever for anything but weapons. The "narrow scope" of the Terry
   exception does not permit a frisk for weapons on less than reasonable belief
   or suspicion directed at the person to be frisked, even though that person
   happens to be on premises where an authorized narcotics search is taking
   place. Ybarra v. Illinois, 444 U.S. 85, 93 (1979).

d) A warrantless arrest is constitutionally valid only when there is probable
   cause to arrest. United States v. Watson, 423 U.S. 411, 417 (1976). Probable
   cause exists if, "at the moment the arrest was made, 'the facts and
   circumstances within [the officers'] knowledge and of which they had
   reasonably trustworthy information were sufficient to warrant a prudent man
   in believing' that [the suspect] had committed or was committing an
   offense." United States v. Floyd, 281 F.3d 1346, 1348 (11th Cir. 2002);
   United States v. Gonzalez, 969 F.2d 999, 1002 (11th Cir. 1992). "Probable
   cause does not require the same type of specific evidence of each element of
   the offense as would be needed to support a conviction." Adams v. Williams,
   407 U.S. 143, 149 (1972). "[P]robable cause is a reasonable ground for
   belief of guilt, and that the belief of guilt must be particularized with respect
   to the person to be searched or seized." Maryland v. Pringle, 540 U.S. 366,
   371 (2003).

e) An arrest requiring probable cause is defined using an objective standard:
   whether the suspect is '''subjected to restraints comparable to those
   associated with a formal arrest. '" United States v. Acosta, 363 F.3d 1141,
   1149 (11th Cir. 2004) (quoting Berkemer v. McCarty, 468 U.S. 420, 441
   (1984)).

f) In the absence of a lawful arrest, voluntary consent, or the exception
   commonly known as "the plain feel exception," a police officer may not
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   lawfully search an individual for anything other than weapons without either
   a search warrant or probable cause plus exigent circumstances.

   As to the "plain feel exception," if in conducting a lawful Terry patdown for
   weapons a police officer in lawfully patting down a suspect's outer clothing
   feels an object whose contour or mass makes its identity immediately
   apparent as contraband, it may be seized without a warrant. Minnesota v.
   Dickerson, 508 U.S. 366, 37-376 (1993).

g) Police officers may not lawfully arrest an individual in his or her home
   without either an arrest warrant or probable cause plus exigent
   circumstances. Payton v. New York, 445 U.S. 573 (1980).

h) A police officer may not enter a suspect's home without a search warrant or
   voluntary consent unless probable cause and exigent circumstances exist,
   and any resulting search and seizure is prohibited under the Fourth
   Amendment. Payton v. New York, 445 U.S. 573, 586 (1980). Exigent
   circumstances exist "when the inevitable delay incident to obtaining a
   warrant must give way to an urgent need for immediate action." United
   States v. Satterfield, 743 F.2d 827, 844 (11th Cir. 1984). Situations in which
   exigent circumstances exist include: "danger of flight or escape; danger of
   [physical] harm to police officers or the general public; risk of loss,
   destruction, removal, or concealment of evidence; and 'hot pursuit' of a
   fleeing suspect." United States v. Blasco, 702 F.2d 1315, 1325 (11th Cir.
   1983). "The mere presence of contraband, however, does not give rise to
   exigent circumstances." United States v. Lynch, 934 F.2d 1226, 1232 (11th
   Cir. 1991). Rather, "the appropriate inquiry is whether the facts ... would
   lead a reasonable, experienced [officer] to believe that evidence might be
   destroyed before a warrant could be secured." United States v. Tobin, 923 F
   .2d 1506, 1510 (11th Cir. 1991).




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                                EXHIBIT B
                            Calhoun SOP Topics

a) Identification Requirement.

All Atlanta police officers who are in uniform, other than a rain slicker or traffic
direction vest, must wear a conspicuously visible nametag, and to require any
Atlanta police officer who is in uniform or has displayed a badge or other
indicia of police authority (such as a police vest, etc.), to identify himself by
name and badge number upon request at some point before the end of an
encounter with a civilian.

b) Interference with Audio and Video Recordings.

The City shall prohibit Atlanta police officers from interfering in any way with
a citizen's right to make video, audio, or photographic recordings of police
activity, as long as such recording does not physically interfere with the
performance of an officer's duty.

c) Documentation of Warrantless Seizures (e.g. Terry Stops), Warrantless
   Frisks, Warrantless Searches of a Person, and ID Checks over the
   ACIC/GCICINCIC System.

With regard to any warrantless seizure (e.g. Terry stop), warrantless frisk, or
warrantless search of a person conducted by an Atlanta police officer inside any
residence or commercial building or structure, an officer must fill out a written
or electronic form before the end of his or her shift documenting the specific
crime(s) of which the individual was suspected; indicating the specific facts
giving rise to reasonable articulable suspicion regarding that crime; indicating
whether the individual was frisked for weapons, and if so giving the specific
facts giving rise to reasonable articulable suspicion that he was both armed
AND dangerous; indicating whether the individual was searched for anything
other than weapons, and if so giving the specific facts giving rise both to
probable cause and exigent circumstances. The requirements of this paragraph
shall not apply if the action is in immediate response to a non-police-officer-
initiated 9-1-1 call. These reports shall be a public record, routinely available
for public inspection by electronic or other means, pursuant to the Georgia
Open Records Act.
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With regard to any ID check over the ACIC/GCICINCIC system by an Atlanta
police officer and involving persons within any residence or commercial
building or structure, the officer performing the check must fill out a written or
electronic form before the end of his or her shift documenting the specific
authority for the ID check (whether by consent or pursuant to a Terry stop or
arrest), and in the case of checks pursuant to a Terry stop, to complete the form
described above. The requirements of this paragraph shall not apply if the
action is in immediate response to a non-police-officer-initiated 9-1-1 call.
These reports shall be a public. record, routinely available for public inspection
by electronic or other means, pursuant to the Georgia Open Records Act.

d) Citizen Complaints.

APD shall investigate and finally adjudicate all citizen complaints of police
misconduct of any kind within 180 days of the complaint.

e) Aiming Weapon.

An officer is prohibited from pointing or aiming a weapon at a person unless
the discharge of the weapon would be justifiable.

f) Greenberg Traurig LLP Report

The results of the "Investigation of Officer Conduct" as reflected in "Greenberg
Traurig, LLP's APO.SOP 20.20 § 3.4.1 Final Report Regarding The Planning,
Execution, And Subsequent Conduct Related To The 'Eagle Raid"' presented on
June 27, 2011.




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                          EXHIBIT C
                           VIDEO:
                  “APPROVED TRAINING”
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                             Exhibit D- Calhoun SOPs
All SOP Sections below refer to the Sections in effect on November 28, 2018*

                              SOP 2010 – Work Rules

Section 4.2.22 (3) – Nametags

Section 4.2.23 (1) – Nametags

Section 4.6.9 (2) – Pointing of firearms

                           SOP 2011– General Conduct

Section 4.4.1 – Interfering with citizen’s right to record

                              SOP 2130 – Dress Code

Section 4.1.2 – Nametags

                          SOP 3020 – Search and Seizure

Section 4.1.6 –Taking or demanding identification

Section 4.3.1 (1) – Constitutional preference for searches pursuant to warrant

Section 4.3.1 (2) – Justification for warrantless search

Section 4.3.1 (3) – Warrantless search, plain view doctrine

Section 4.5.1 – Stop and frisk

Section 4.5.2 – Exigent circumstances

Section 4.5.11– Documentation of ID Checks



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                         SOP 3020 – Search and Seizure

Section 5.9 – Definition of “probable cause”

Section 5.10 – Definition of “reasonable articulable suspicion”

Section 5.15 – Definition of “stop and frisk”

                         SOP 3030 – Arrest Procedures

Section 4.1.4 (1)(a-e) – Arrest without a warrant

Section 4.1.7 (6) – Documentation

Section 5.4 – Definition of “probable cause”

                           SOP 3060 – Report Writing

Section 4.7– Documentation of ID Checks

                           SOP 3065 – Field Interviews

Section 4.1.1 – Stops

Section 4.3.4 – De-escalation after stop


      *The following SOPs were in effect on November 28, 2018:

             SOP 2010 – Work Rules (Effective Date September 15, 2015)
             SOP 2011– General Conduct (Effective Date September 15, 2015)
             SOP 2130 – Dress Code (Effective Date December 15, 2017)
             SOP 3020 – Search and Seizure (Effective Date October 15, 2018)
             SOP 3030 – Arrest Procedures (Effective Date September 1, 2017)
             SOP 3060 – Report Writing (Effective Date June 1, 2015)
             SOP 3065 – Field Interviews (Effective Date June 1, 2015)
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        IS THE DEMOGRAPHIC MODULE NEEDED?
             Were you inside of a RESIDENCE or
          COMMERCIAL BUILDING or STRUCTURE


          IF NO                       IF YES H
          STOP
             Were you IMMEDIATELY responding to a
                       CIVILIAN 911 call?


          IF YES                       IF NO H
          STOP
                  While inside of the LOCATION,
              did you CONDUCT any of the following




          IF NO                       IF YES H
          STOP
              COMPLETE THE
           DEMOGRAPHIC MODULE
        EVEN IF YOU COMPLETED AN INCIDENT REPORT
